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               Exhibit C
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                                                                                 Michael P. Canty
                                                                                 Partner
                                                                                 212 907 0863     direct
                                                                                 212 907 0700     main
                                                                                 212 883 7063     fax
[DATE]                                                                           mcanty@labaton.com

                                                                                 New York Office
VIA E-MAIL                                                                       140 Broadway
[INSERT NAME, ADDRESS, and E-MAIL]                                               New York, NY 10005


Re:     Client Referrals

Dear [NAME]:

This Letter Agreement (“Agreement”) between you and Labaton Sucharow LLP (“Labaton
Sucharow”) sets forth the terms and conditions upon which we shall cooperate in the representation
of clients, such as institutional investors, referred to Labaton Sucharow by you for portfolio
monitoring and securities litigation services.

As used in this Agreement, the term “Clients” means institutional investors and such other entities
or individuals as may desire to use the services of the Labaton Sucharow for portfolio monitoring
and the commencement of class or direct (non-class) actions to recover losses sustained in
investments held by them. You will assist Labaton Sucharow in obtaining new Clients, retaining
existing Clients previously referred by you, serving as liaison between the Labaton Sucharow and
such Clients, and assisting the Labaton Sucharow in its representation of such Clients (the
“Services”).

You confirm that you currently are a member in good standing of the bar of the State of [INSERT].
You will maintain such status at all times that you continue to have a relationship with Labaton
Sucharow. You represent that you are not a party to any agreement that represents a conflict of
interest with the terms of this Agreement or that materially and adversely affects your ability to
perform the Services. Further, you agree you will not enter into any agreement or business
relationship during the term of this Agreement or any renewal that could place you or Labaton
Sucharow in a conflict of interest position.

In order to perform the Services, you shall, among other things, maintain contact with Clients and
potential clients, promote the services of Labaton Sucharow, and provide Labaton Sucharow with
information pertaining to and access to Clients and potential clients.

In addition, you shall:

        (1)     in performing the Services comply with all applicable legal and ethical requirements,
                including, but not limited to, Rules 7.1 (Advertising) and 7.3 (Solicitation and
                Recommendation of Employment) of the New York Rules of Professional Conduct;
                and

        (2)     obtain final approval from the Labaton Sucharow for any print media you intend to
                distribute or make available to Clients, potential clients, or the public that pertains to
                Labaton Sucharow.
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[DATE]
Agreement with [NAME] regarding Client Referrals


You do not have any authority to act on behalf of Labaton Sucharow or make any agreement,
promise, or commitment on its behalf. Nothing in this Agreement shall be construed as creating
any partnership, joint venture, agency, or employment relationship between you and Labaton
Sucharow.

You will provide the Services from an office maintained by you. You will be responsible for
maintaining your own workers’ compensation, employee liability, comprehensive general liability,
malpractice, and any other insurance required by law.

You may from time to time refer Clients to Labaton Sucharow for portfolio monitoring. Labaton
Sucharow renders such services without charge. All such referrals shall be pursuant to written
retainer agreements executed by Labaton Sucharow and the Client. Labaton Sucharow shall advise
you and the Client if it appears that a Client referred by you may have a claim arising from violation
of the securities laws and the parties shall jointly consult with the Client as to its prosecution of an
action either as plaintiff in a class action or a direct (non-class) action. You may also introduce other
potential clients to Labaton Sucharow for the prosecution of such actions arising out of violation of
securities laws.

In the event that a Client introduced by you to Labaton Sucharow retains Labaton Sucharow to
prosecute a U.S. class action on its behalf at the time of such referral and is appointed lead or co-
lead plaintiff, subject to the terms and conditions set forth below, Labaton Sucharow will pay you a
fee of INSERT percent (INSERT%) of the Net Fee (as defined below) received by Labaton
Sucharow. Net Fee means the amount when, as, and if actually received by the Labaton Sucharow
as fees for its legal services after payment of all expenses, co-counsel fees, and payments to local
counsel. If Labaton Sucharow represents more than one plaintiff, and one or more of such
plaintiffs is not a Client referred by you, the Net Fee upon which payment to you is computed will
be apportioned based on the comparative net losses of the respective clients. For example, if all the
Labaton Sucharow’s clients have a total aggregate loss of three million dollars of which two million
dollars is attributable to the Client referred by you, then the amount from which you will receive
INSERT PERCENTAGE would be two thirds (2/3) of the total Net Fee received by Labaton
Sucharow.

Each retention (either for portfolio monitoring or litigation) will be confirmed with you in writing by
Labaton Sucharow.

You shall not be responsible for any of the costs or expenses incurred in prosecuting a litigation.

Each of the parties shall take all steps necessary and appropriate to comply with all legal and ethical
requirements applicable to it. Without limiting the generality of the foregoing, as to each litigation
undertaken by Labaton Sucharow, the parties shall take all steps required to comply with Rule 1.5(g)
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Agreement with [NAME] regarding Client Referrals

of the New York Rules of Professional Conduct (or any successor rule) including: assumption of
joint responsibility and/or work commensurate with the fee to be provided, full disclosure that there
is to be a division of fees and the amount thereof, the consent of the client thereto, and
confirmation thereof in writing. In connection with the assumption of joint responsibility for
litigation, you will have and maintain malpractice insurance during the entire course of any litigation
in which a client introduced by you and represented by Labaton Sucharow is involved.

Nothing herein contained shall be deemed to require you to refer any potential clients to Labaton
Sucharow or Labaton Sucharow to accept any such referral. Each party is free to enter into similar
agreements with others. This Agreement does not constitute a binding agreement and is intended to
set forth the basis for the referral of matters and payment of the fees provided for herein on a case-
by-case basis, following execution of an agreement with the potential client and compliance with
legal and ethical requirements.

The parties hereto expressly understand and agree that information exchanged between you and
Labaton Sucharow may contain confidential information, such as client lists, strategies, litigation
strategies, and other sensitive information that constitutes confidential and/or privileged
information. Each of the parties mutually agrees that they shall not use or disclose such confidential
information for any purpose other than in the performance of this Agreement.

All notices hereunder shall be given by email and overnight courier as set forth below, and shall be
effective on the business day after delivery to the overnight courier:

        To [NAME]:
        INSERT CONTACT INFO

        To Labaton Sucharow:
        INSERT NAME
        Labaton Sucharow LLP
        140 Broadway
        New York, New York 10005
        INSERT NAME@labaton.com

This Agreement contains our entire agreement and supersedes and renders null and void any and all
prior agreements between the parties, whether written or oral. There have been no promises,
statements, or representations made to induce either party to enter into this Agreement that are not
fully set forth herein, and all such prior promises, statements, and representations, if any, are merged
herein and shall not survive. Each party has entered into this Agreement freely and after full
consideration of its rights and obligations.
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Agreement with [NAME] regarding Client Referrals

The term of this agreement shall be two years from date of the Agreement. This Agreement may be
terminated by either party on thirty (30) days’ written notice. Notwithstanding, Labaton Sucharow
may terminate this Agreement on one (1) day’s notice should you fail to maintain your status as an
attorney duly admitted to practice.

Any dispute between the parties as to the making, performance, breach, or termination of this
Agreement shall be resolved by arbitration conducted pursuant to the applicable rules of JAMS in
New York City, New York. In any such arbitration, the arbitrator is authorized to award attorneys’
fees to the prevailing party or parties if the arbitrator finds that the position of the other party or
parties was maintained in bad faith. Judgment upon any award may be entered in a court of
competent jurisdiction located in New York County, NY.

Any modifications, amendments, or addendums to this Agreement must be made in writing and
signed by both parties hereto.

This Agreement shall be governed and controlled by New York law.

Sincerely,

Labaton Sucharow LLP                                    Agreed to:



By:___________________                               ______________________
   Michael P. Canty                             [NAME]
